Case 1:13-cv-00633-JLS-MJR Document1 Filed 06/17/13 Page1of 25

Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A COMPLAINT VO be 3 i J
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983 SF 3
(Prisoner Complaint Form)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

A. Full Name And Prisoner Number of Plaintiff: NOTE: If more than one plaintiff files this action and seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be the plaintiff who filed an application and Authorization.

L Ankeny Romana (OdDS253) So TRG Tp

2.

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‘vs. 1? 2Ui3
B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10{a), the na vie nosdiealg 24) ption.
The court may not consider a claim against anyone not identified in this section as a he nal daft eHeena tan. ix defendants,
you may continue this section on another sheet of paper if you indicate . An have done so.
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2, Sos eph Ciancr: €.0. s Ray Bell C0.

(Ay (| Coviella ¢.0. . Gregory Carne, C.O.

2. STATEMENT OF JURISDICTION

This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201.

3. PARTIES TO THIS ACTION
PLAINTIFE’S INFORMATION NOTE: 1o list additional,plaintiffs, use this format on another sheet of paper.
Name and Prisoner Number of Plaintiff: A 14 VOD A ( i) MA \fD Le CI AS 267. \
Present Place of Confinement & Address: (PR Ay ¥ ' end cl wo Ce 9 (Te cAto nA. ~
FACA Lary “Rots  Comeiodle A. 1a%2-1- GOS S1

Name and Prisoner Number of Plaintiff:

Present Place of Confinement & Address:

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DEFENDANT’S INFORMATION NOTE: 1o provide information about more defendants than there is room for here, use this

format on another sheet of paper.

Name of Defendant: Key LN Ulric (1 - Cc . QO.
(If applicable) Official Position of Defendant C OCUeLe XY ion © FRc LIL

(If applicable) Defendant is Sued in Individual and/or wo _ __ Official Capacity
Address of Defendant: he Vic i C ORRE?LTVTION AL EA ay ¢ ty
Wace, Mid (Yall -ol¢4

Name of Defendant: _ cpl C 2“ \ AAO C \ “ C. : O ‘
(If applicable) Official Position of Detendant: CO CC OC NOK \ Orrice (~
(If applicable) Defendant is Sued in__ Y/___Individual and/or___ Official Capacity

Address of Defendant: AY CN CO Cee C\ CUONAL FAC ici: ty
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Name of Defendant: =D 3 CO VI LE | | (la C.. O.
(If applicable) Official Position of nt CO (ree Mi On OY EFL CE. C

(If applicable) Defendant is Sued in Individual and/or &_ Official Capacity

Address of Defendant: AVUc E C O if ¢ fx CTIONA Le. ACY City
ATMA, Abs}. iYail- oly

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun x other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes_¥’

If Yes, complete the next section. NOTE: Ifyou have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.
1. Name(s) of the parties to this other lawsuit:

Plaintiff(s): A Aynon AAP
Defendant(s) KENNETH DL Wh - Co. ViaWeds,-
KAR KOS - 0. Wie el , _ SAID - C.- 2.
2. Court (if federal court, name the district; if state court name the county): Uto\ TE % ah Ares
SJ Manet COA Su’ Whe) XO niSdrict ok = Me. Lugo,
3, Docket or Index Number: — t CW, eo 1S CoS Se \

4, Name of Judge to whom case was assigned: Ne Ve (hy hle a = =< ZA Kn EE,

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5. ‘ The approximate date the action was filed: Kp | \ \ q, LQ eG

6. What was the disposition of the case?
Is it still pending? Yes No

If not, give the approximate date it was resolved. WAU HOO 3

Disposition (check the statements which apply): \

Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By court due to your voluntary withdrawal of claim;

J udgmepetipon motion or after trial entered for
y__ plaintiff

defendant.

B. Have you begun any other la Suits in federal court which relate to your imprisonment?
Yes No

If Yes, complete the next section. NOTE: Ifyou have brought more than one other lawsuit dealing with your imprisonment,
use this same format to describe the other action(s) on another sheet of paper.

1, Name(s) of the parties to this other lawsuit:
Plaintiff(s):
Defendant(s):
2. District Court:
3. Docket Number:
4, Name of District or Magistrate Judge to whom case was assigned:
5. The approximate date the action was filed:
6. What was the disposition of the case?

Is it still pending? Yes No

If not, give the approximate date it was resolved.

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Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By court due to your voluntary withdrawal of claim;
Judgment upon motion or after trial entered for
plaintiff

defendant.

5. STATEMENT OF CLAIM

For your information, the following is a list of some of the most frequently raised grounds for relief in proceedings under 42
U.S.C. § 1983. (This list does not include all possible claims.)

* Religion * Access to the Courts * Search & Seizure

* Free Speech * False Arrest * Malicious Prosecution

* Due Process € Excessive Force * Denial of Medical Treatment
* Equal Protection * Failure to Protect * Right to Counsel

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, tell the story of what happened to you but do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief.” "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).
Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

Exhaustion of Administrative Remedies

Note that according to 42 U.S.C. § 1997e(a), “[nJo action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prison er confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.

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A. FIRST CLAIM: On (date of the incident) Fe he ALS Cus \ +e = Cf
defendant (give the name and position held of each defendant involved In this wien (i) i LL Ui 2 - — C.. C?-
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CO Shirl LizoSaeodc. O- Rory Bell, Co
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The constitutional basis for this claim under 42 U.S.C. §°1983 is: beta ‘ NEC Wsnhelter
Cruel ¢ U usual Piawishiment, : a
The relief I am seeking for this claim is (briefly state the relief sought » EPI. C. oO rv\ EASA Be
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pikysi CAC Suc 1S Ie Whe Ainvaunt oF Ca, ove, 000)

Exhaustion of ¥Our Administrative Remedies for this Claim: _

Did you grieve or appeal this claim? 4 Yes No If yes, what was the result? YX Ef en DS
MF lec 2x SefpassAulVeEds Vim Was Sent 1D A. Osychudric Wasp bl.
Did you appeal that decision? ~ Yes No. If yes, what was the result? Vv » enh e. DH

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Attach copies of any documents that indicate that you have exhausted Uh claim.

If you did not exhaust your administrative remedies, state why you did not do 30: 4 ul (\ ~

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Case 1:13-cv-00633-JLS-MJR Document1 Filed 06/17/13 Page 6 of 25

did the following to me (briefly state what each defendant named above did): f CC +b ‘EL p \ he Je.
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Exhaustion of Your Administrative Remedies for this Claim:

Did you grieve o or appeal this claim? Yes No If yes, what was the result? DS Ei t ELA h

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Did you appeal that decision? YY. Yes No If yes, what was the result?\P) EZ mb

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Attdch copies of any documents hat indicate that you have exhausted this claim.

If you did not exhaust your administrative remedies, state why you did not do so: “ eY “Uf f~ TS. “To P2

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If you have additional claims, use the above format and set them out on additional sheets of paper.

6. RELIEF SOUGHT

Summarize the ve relief requested by you in each statement of claim above.

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Do you want a jury trial? Yes
Case 1:13-cv-00633-JLS-MJR Document1 Filed 06/17/13 Page 7 of 25

I declare under penalty of perjury that the foregoing is true and correct.

Executed on M AL ay, “+O / 4

(date)
NOTE: Each naintif mst sign this complaint and, pe ust Y p

fign a all SY sequent papers fled with the Court.

Signature(s) Ot Plaintiff(s)
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/ Grievance Number : Desig /Code : Date Filed
STATE OF NEWYoRK | ‘4757680-10 W440 12/6/10
~ DEPARTMENT OF
CORRECTIONAL Associated Cases
SERVICES
Facility
Attica Correctional Facility
: Title of Grievance
INMATE GRIEVANCE PROGRAM Grievances Not Filed

CENTRAL OFFICE REVIEW COMMITTEE

3/2/11

GRIEVANT'S REQUEST UNANIMOUSLY ACCEPTED IN PART

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby accepted in part.

_CORC notes that a review of the Clerk’s log indicates that none of the six grievances listed by the grievant
were received or processed by the IGRC. There are, however, six grievances logged from him between
8/27/10 and 11/17/10, and the IGP Supervisor provided him with the status of these grievances on 12/6/10.

_ .The IGP Supervisor reports that all the grievances have been responded to, and all answers have been
forwarded to him. There is no indication that his grievances have been consolidated.

With regard to the grievant's appeal, CORC has not been presented with sufficient evidence to substantiate any
malfeasance by IGRC staff, or that his grievances are not being filed. CORC advises him to address any further
concerns regarding the status of his grievances to the IGP Supervisor for the most expeditious means of
resolution. CORC notes that Directive #4040, Section 701.1, states, in part, that the grievance program is not
intended to support an adversary process. .

RCE/sIi

iw a

This document has been electronically signed by Jeffery A. Hale
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MEM O ATTICA CORRECTIONAL FACILITY

INMATE GRIEVANCE PROGRAM

TO: A. Romano, 00A5352, Marcy CNYPC
FROM: George D. Struebe!, IGP Supervisor } /)
SUBJ: Your attempted Grievance J A

DATE: — 5/19/11

Your attempted grievance cannot be accepted and is being
returned to you for the following reasons;

1. Grievances must be filed within 45 days of the grieved
event. Your event happened over 90 days ago.

2. Grievances cannot be filed in a facility in which you do
not house; you are no longer housed in Attica C. F.

3. You are currently not even in the custody of the .

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M EM O ATTICA CORRECTIONAL FA CILITY

INMATE GRIEVANCE PROGRAM

TO: A. Romano, 00A5352, Marcy CNYPC
FROM: George D. Struebel, IGP Supervisor
SUBJ: Your letter of %/24/11
DATE: 5/31/11

Il refer you to my memo of 5/19/11. You cannot file a
grievance in this facility; you do not reside here. You
cannot file a grievance on situations from months ago;
there is 45 day time restriction. You cannot file a
grievance on a claim decision; appeal the claim.

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MEM O ATTICA CORRECTIONAL FACILITY

INMATE GRIEVANCE PROGRAM

TO: A. Romano, 00A5352, CNYPC .
FROM: George D. Struebel, IGP Supervisor ,/) y {
SUBJ: Your 5/34 leétto Supt. Bradt. h |
DATE: 6/3/11

The above has heen referred to me for response. | refer you to my memos to you of 5/31 and
5/19. there is no exception to this restriction.

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M EM O ATTICA CORRECTIONAL FACILITY

INMATE GRIEVANCE PROGRAM

TO: A. Romano, 00A5352, Cnypc ) fe
FROM: George D. Struebel, IGP Supervisor He 7
SUBJ: Your correspondence received today

DATE: 6/10/11

I have responded to you on this matter previously. I refer
you to my memos to you of 5/19/11, 5/31/11, and 6/3/11. The
answer has not changed and will not change.
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STATE OF NEW YORK-DEPARTMEN T OF CORRECTIONAL SERVICE

ATTICA CORRECTIONAL FACILITY

TO: Anthony Romano 00A5352 CNYPC

FROM: SANDRA PRUSAK, INMATE RECORDS COORDINATOR II WP
SUBJECT: FREEDOM OF INFORMATION LAW-FOIL REQUEST

DATE: August 1, 2011

1. This is to acknowledge receipt of your request under Freedom of Information.
Said request is being reviewed and you will be notified of the results of this
Review

2. A-review of your records indicate the documents you requested will require a
fee of $.50. The photocopying fee is $.25 per page. Upon receipt of your signed
Disbursement form stamped by your Hall Captain, the records that you
requested will be forwarded to you.

3. Your FOIL request has been denied. The reason for such denial is as follows:
A. No such records exists. Please be more specific as what you are requesting.
___.__B. Information received from you is vague, you must be specific about the
documents you are requesting, dates, etc...
C. No source area signature on disbursement.
D. The document you have requested would compromise the safety and
security of the facility/or it is confidential or personal.
E. Dissemination of your Pre Sentence Investigation Report and RAP sheet by this
office to you is prohibited by statute. (CPL 390.50)
¥. Records are pre-decisional inter-agency material and are exempt from
disclosure. :
G. Records are evaluative and are exempé from disclosure.
H. Insufficient Funds (NOTICE: If original requests relates to hearing
please review Directive 2010, VI, H.)
I. No previous FOIL request was received by this office.

4. Your sentencing minutes and/or certificate of conviction are not contained in your
central file, you must write to the court in the county in which you were sentenced
to request it from them.

Chaplins/Contraband for their action. Please address any concerns you may have with that Office.
__ 6. You must write to Correctional Facility. That record does not

exist at this facility.
____7. You will be hearing something in the near future regarding your review request.

If you do not agree with this decision, you may contact in writing:
Counsel’s Office, Building 2 1220 Washington Ave. Albany, NY 12226.
sp: Ip
ce: File
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To:

From:
Date:

Subject:

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ATTICA CORRECTIONAL FACILITY

Office of the Superintendent

MEMO

Komana oohis35g Cue

- NAME DIN CELL
Mark L. Bradt, Superintendent ONG? nerds
“129-1
Inmate Note Dated | F-2.0-]l Receivedon  ~ 77) FI}

Your complaint has been received. The Inmate Grievance Program (per Directive 4040)
handles allegations of harassment or unlawful discrimination, therefore, your letter is
being forwarded to the Inmate Grievance Office for processing.

| am investigating your letter and as soon as | have sufficient information, | will reply.

Your letter has been referred to the below-named person. Any further correspondence
on this matter should be referred to this person.

Your grievance/letter has been referred to the below-named person. Any further
correspondence on this matter should be referred to this person.

Your time cut request has been referred to the Deputy Superintendent for Security for
response,

Your marriage request has been referred to the Deputy Superintendent for Programs for
processing and response.

Cot Gvenon

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Case. TSeNey] IR pocugient Wj Fite pares. , Page 22 of 25

Attica Correctional Facility Memorandum

TO: A. Romano, 00a5352, Great Meadow ICP
“oO

From: Mr. Janes, IGPS_-«{

Subject: Your attempted grievance

Date: November 09, 2011

Regarding your attempted grievance; it is being returned to you. We can NOT file it.
Grievances must be filed at the facility that you are currently housed in. You are not an
inmate at this facility. Additionally, it is well beyond time frames for filing. A grievance
must be filed within 21 days of an alleged incident. The IGP Supervisor may grant an
exception to the time limit based on mitigating circumstances. An exception to the time
limit may NOT be granted more than 45 days after an alleged occurrence. This complaint
is also well beyond time limits even when considering mitigating circumstances. If you
have any questions please refer to directive 4040. Again, the Attica Inmate Grievance
Program can not file your attempted grievance and it is being returned to you.

CC: Supt. M. Bradt
IGPS Great Meadow C.F.
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AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
) ss.:
COUNTY OF WASHINGTON _ )

OMSVO. , being duly sworn, depose and say

day of UNE. , 200) s,

Petitioner/Defendant/Claimant, served upon the defendant/

that on the id 5

respondent the annexed document(s) identified as:
Wier ve UES SD as\niey upon the following party:

OUR leckerd Dr iekact
COUN "Se NeLdyent

by placing the same in the mailbox at the Great Meadow Correctional
Facility, under the exclusive care and custody of the United
States Postal Service, by regular first class mail/certified

return receipt mail/ other.

Sworn to before me this

2 day of __ Jee ols

é . _ WAMES M. TERRIO
fo be te ete” 7 Notary Bub - State af New York
, 0, 01TE6217805
NOF ARY PUBLIC Qualified in Washington County
My Commission Expires February 22, 2014
Case 1:13-cv-00633-JLS-MJR Document1 Filed 06/17/13 Page 25 of 25

UNITED STATES COURT OF APPEALS

FOR THE SECOND CIRCUIT
U.S.C.A. Docket No. CERTIFICATE
OF SERVICE
Ayano if ROMAVO
AVSNGe SI)

V. Case Caption

Kevin Wecw, Sosep Cadet, Serre Maza,
CA COWEN, DAM EL LEovard, Ruavl Feeve
Ror BEL CREecopyCARMEY, SEPPREY LACAP RUCAIA,

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MARK Euniin dam Se GEMS
Atta KomAvo hereby certify under the penalty. 74 ]

NAME

of perjury that on the : an day of sort _. GO [3.1
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(NAME OF DOCUMENT: Motion, Brief, Letter, ete. )

on the following:

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